                                                                   B6 Summary Case      15-41743
                                                                              (Official Form 6 - Summary)Doc
                                                                                                          (12/14)14             Filed 10/02/15 Entered 10/02/15 20:22:09                                      Desc Main
                                                                                                                                 Document     Page 1 of 25
                                                                                                                                United States Bankruptcy Court
                                                                                                                                   District of Massachusetts

                                                                   IN RE:                                                                                                                Case No. 15-bk-41743
                                                                   Imparato, John P.                                                                                                     Chapter 13
                                                                                                                        Debtor(s)

                                                                                                                                 SUMMARY OF SCHEDULES
                                                                   Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                   provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from Schedules D, E, and F to
                                                                   determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file
                                                                   a case under chapter 7, 11, or 13.

                                                                                                                               ATTACHED             NO. OF
                                                                    NAME OF SCHEDULE
                                                                                                                                (YES/NO)            SHEETS                 ASSETS                LIABILITIES                 OTHER


                                                                    A - Real Property                                               Yes                          1 $         295,000.00



                                                                    B - Personal Property                                           Yes                          3 $            8,635.00
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                                                                    C - Property Claimed as Exempt                                  Yes                          1



                                                                    D - Creditors Holding Secured Claims                            Yes                          1                           $        313,216.00


                                                                    E - Creditors Holding Unsecured Priority
                                                                                                                                    Yes                          1                           $                 0.00
                                                                        Claims (Total of Claims on Schedule E)

                                                                    F - Creditors Holding Unsecured
                                                                                                                                    Yes                          3                           $           4,379.00
                                                                        Nonpriority Claims

                                                                    G - Executory Contracts and Unexpired
                                                                                                                                    Yes                          1
                                                                        Leases


                                                                    H - Codebtors                                                   Yes                          1


                                                                    I - Current Income of Individual
                                                                                                                                    Yes                          2                                                     $           7,136.00
                                                                        Debtor(s)

                                                                    J - Current Expenditures of Individual
                                                                                                                                    Yes                          3                                                     $           6,809.00
                                                                        Debtor(s)


                                                                                                                                    TOTAL                      17 $          303,635.00 $             317,595.00
                                                                   B 6 SummaryCase
                                                                              (Official 15-41743        Doc
                                                                                        Form 6 - Summary)      14
                                                                                                          (12/14)   Filed 10/02/15 Entered 10/02/15 20:22:09                   Desc Main
                                                                                                                     Document     Page 2 of 25
                                                                                                                    United States Bankruptcy Court
                                                                                                                       District of Massachusetts

                                                                   IN RE:                                                                                       Case No. 15-bk-41743
                                                                   Imparato, John P.                                                                            Chapter 13
                                                                                                             Debtor(s)

                                                                           STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
                                                                            If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11
                                                                   U.S.C. § 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                              Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report
                                                                   any information here.

                                                                   This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                   Summarize the following types of liabilities, as reported in the Schedules, and total them.

                                                                    Type of Liability                                                                                        Amount

                                                                    Domestic Support Obligations (from Schedule E)                                                    $           0.00
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                                                                    Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                        $           0.00

                                                                    Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
                                                                    disputed or undisputed)                                                                           $           0.00

                                                                    Student Loan Obligations (from Schedule F)                                                        $           0.00

                                                                    Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on
                                                                    Schedule E                                                                                        $           0.00

                                                                    Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)         $           0.00

                                                                                                                                                           TOTAL      $           0.00


                                                                    State the following:

                                                                    Average Income (from Schedule I, Line 12)                                                         $      7,136.00

                                                                    Average Expenses (from Schedule J, Line 22)                                                       $      6,809.00

                                                                    Current Monthly Income (from Form 22A-1 Line 11; OR, Form 22B Line 14; OR, Form 22C-1
                                                                    Line 14 )                                                                                         $      8,156.00


                                                                    State the following:

                                                                    1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column                                                         $    16,766.00

                                                                    2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY” column.                                   $           0.00

                                                                    3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY, IF ANY” column                                           $          0.00

                                                                    4. Total from Schedule F                                                                                             $     4,379.00

                                                                    5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                         $    21,145.00
                                                                   B6A (Official Case
                                                                                 Form 6A)15-41743
                                                                                          (12/07)               Doc 14           Filed 10/02/15 Entered 10/02/15 20:22:09                                                         Desc Main
                                                                                                                                  Document     Page 3 of 25
                                                                   IN RE Imparato, John P.                                                                                                 Case No. 15-bk-41743
                                                                                                                              Debtor(s)                                                                                                    (If known)

                                                                                                                              SCHEDULE A - REAL PROPERTY
                                                                      Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant, community
                                                                   property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                   married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
                                                                   or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                     Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                      If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                   interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                     If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.




                                                                                                                                                                                           HUSBAND, WIFE, JOINT,
                                                                                                                                                                                              OR COMMUNITY
                                                                                                                                                                                                                     CURRENT VALUE OF
                                                                                                                                                                                                                    DEBTOR'S INTEREST IN
                                                                                                                                                                 NATURE OF DEBTOR'S                                  PROPERTY WITHOUT        AMOUNT OF SECURED
                                                                                           DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                INTEREST IN PROPERTY                                   DEDUCTING ANY              CLAIM
                                                                                                                                                                                                                     SECURED CLAIM OR
                                                                                                                                                                                                                         EXEMPTION



                                                                   11 Chase St                                                                               Tenants by the                     J                          295,000.00               308,749.00
                                                                   Bellingham, MA 02019                                                                      Entirety
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                                                                                                                                                                                    TOTAL                                  295,000.00
                                                                                                                                                                                                                   (Report also on Summary of Schedules)
                                                                   B6B (Official Case
                                                                                 Form 6B)15-41743
                                                                                          (12/07)                   Doc 14       Filed 10/02/15 Entered 10/02/15 20:22:09                                       Desc Main
                                                                                                                                  Document     Page 4 of 25
                                                                   IN RE Imparato, John P.                                                                                                Case No. 15-bk-41743
                                                                                                                              Debtor(s)                                                                                             (If known)

                                                                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                      Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
                                                                   appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                                                                   and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or
                                                                   “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only
                                                                   in Schedule C - Property Claimed as Exempt.

                                                                     Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                     If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the property is being
                                                                   held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                   not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                   HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                                      OR COMMUNITY
                                                                                                                                                                                                                                            CURRENT VALUE OF
                                                                                                                      N                                                                                                                    DEBTOR'S INTEREST IN
                                                                                                                      O                                                                                                                     PROPERTY WITHOUT
                                                                                  TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                      N                                                                                                                       DEDUCTING ANY
                                                                                                                      E                                                                                                                     SECURED CLAIM OR
                                                                                                                                                                                                                                                EXEMPTION




                                                                      1. Cash on hand.                                    Cash                                                                                                                           10.00
                                                                      2. Checking, savings or other financial             Citizens Bank checking                                                                                                         40.00
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                                                                         accounts, certificates of deposit or             Middlesex Savings Bank checking                                                                                              200.00
                                                                         shares in banks, savings and loan,
                                                                         thrift, building and loan, and                   Middlesex Savings Bank checking                                                              J                               750.00
                                                                         homestead associations, or credit
                                                                                                                          Middlesex Savings Bank savings                                                                                                 10.00
                                                                         unions, brokerage houses, or
                                                                         cooperatives.
                                                                      3. Security deposits with public utilities,     X
                                                                         telephone companies, landlords, and
                                                                         others.
                                                                      4. Household goods and furnishings,                 Ordinary and usual household contents                                                                                      4,000.00
                                                                         include audio, video, and computer
                                                                         equipment.
                                                                      5. Books, pictures and other art objects,       X
                                                                         antiques, stamp, coin, record, tape,
                                                                         compact disc, and other collections or
                                                                         collectibles.
                                                                      6. Wearing apparel.                                 Clothing                                                                                                                     750.00
                                                                      7. Furs and jewelry.                                Misc. Jewelry                                                                                                                250.00
                                                                      8. Firearms and sports, photographic,               misc. guns                                                                                                                   500.00
                                                                         and other hobby equipment.
                                                                      9. Interest in insurance policies. Name             Term Life Insurance through Local 103                                                                                           0.00
                                                                         insurance company of each policy and
                                                                         itemize surrender or refund value of
                                                                         each.
                                                                    10. Annuities. Itemize and name each              X
                                                                        issue.
                                                                    11. Interests in an education IRA as              X
                                                                        defined in 26 U.S.C. § 530(b)(1) or
                                                                        under a qualified State tuition plan as
                                                                        defined in 26 U.S.C. § 529(b)(1).
                                                                        Give particulars. (File separately the
                                                                        record(s) of any such interest(s). 11
                                                                        U.S.C. § 521(c).)
                                                                    12. Interests in IRA, ERISA, Keogh, or                Retirment plans through local 103                                                                                        Unknown
                                                                        other pension or profit sharing plans.
                                                                        Give particulars.
                                                                    13. Stock and interests in incorporated           X
                                                                        and unincorporated businesses.
                                                                        Itemize.
                                                                    14. Interests in partnerships or joint            X
                                                                        ventures. Itemize.
                                                                   B6B (Official Case
                                                                                 Form 6B)15-41743
                                                                                          (12/07) - Cont.          Doc 14     Filed 10/02/15 Entered 10/02/15 20:22:09                        Desc Main
                                                                                                                               Document     Page 5 of 25
                                                                   IN RE Imparato, John P.                                                                                      Case No. 15-bk-41743
                                                                                                                            Debtor(s)                                                                            (If known)

                                                                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                (Continuation Sheet)




                                                                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                   OR COMMUNITY
                                                                                                                                                                                                                         CURRENT VALUE OF
                                                                                                                     N                                                                                                  DEBTOR'S INTEREST IN
                                                                                                                     O                                                                                                   PROPERTY WITHOUT
                                                                                 TYPE OF PROPERTY                                        DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                     N                                                                                                     DEDUCTING ANY
                                                                                                                     E                                                                                                   SECURED CLAIM OR
                                                                                                                                                                                                                             EXEMPTION




                                                                    15. Government and corporate bonds and           X
                                                                        other negotiable and non-negotiable
                                                                        instruments.
                                                                    16. Accounts receivable.                         X
                                                                    17. Alimony, maintenance, support, and           X
                                                                        property settlements in which the
                                                                        debtor is or may be entitled. Give
                                                                        particulars.
                                                                    18. Other liquidated debts owed to debtor        X
                                                                        including tax refunds. Give
                                                                        particulars.
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                                                                    19. Equitable or future interest, life           X
                                                                        estates, and rights or powers
                                                                        exercisable for the benefit of the
                                                                        debtor other than those listed in
                                                                        Schedule A - Real Property.
                                                                    20. Contingent and noncontingent                 X
                                                                        interests in estate of a decedent, death
                                                                        benefit plan, life insurance policy, or
                                                                        trust.
                                                                    21. Other contingent and unliquidated            X
                                                                        claims of every nature, including tax
                                                                        refunds, counterclaims of the debtor,
                                                                        and rights to setoff claims. Give
                                                                        estimated value of each.
                                                                    22. Patents, copyrights, and other               X
                                                                        intellectual property. Give particulars.
                                                                    23. Licenses, franchises, and other              X
                                                                        general intangibles. Give particulars.
                                                                    24. Customer lists or other compilations         X
                                                                        containing personally identifiable
                                                                        information (as defined in 11 U.S.C. §
                                                                        101(41A)) provided to the debtor by
                                                                        individuals in connection with
                                                                        obtaining a product or service from
                                                                        the debtor primarily for personal,
                                                                        family, or household purposes.
                                                                    25. Automobiles, trucks, trailers, and               1995 Dodge 1500 pickup                                                                                     500.00
                                                                        other vehicles and accessories.                  2002 Dodge Stratus (son drives and pays expenses)                                                          175.00
                                                                                                                         2005 Chevy Uplander                                                        J                             1,450.00
                                                                    26. Boats, motors, and accessories.              X
                                                                    27. Aircraft and accessories.                    X
                                                                    28. Office equipment, furnishings, and           X
                                                                        supplies.
                                                                    29. Machinery, fixtures, equipment, and          X
                                                                        supplies used in business.
                                                                    30. Inventory.                                   X
                                                                    31. Animals.                                     X
                                                                    32. Crops - growing or harvested. Give           X
                                                                        particulars.
                                                                    33. Farming equipment and implements.            X
                                                                   B6B (Official Case
                                                                                 Form 6B)15-41743
                                                                                          (12/07) - Cont.     Doc 14     Filed 10/02/15 Entered 10/02/15 20:22:09                          Desc Main
                                                                                                                          Document     Page 6 of 25
                                                                   IN RE Imparato, John P.                                                                                Case No. 15-bk-41743
                                                                                                                       Debtor(s)                                                                                (If known)

                                                                                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                                                                           (Continuation Sheet)




                                                                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                  OR COMMUNITY
                                                                                                                                                                                                                        CURRENT VALUE OF
                                                                                                                N                                                                                                      DEBTOR'S INTEREST IN
                                                                                                                O                                                                                                       PROPERTY WITHOUT
                                                                                TYPE OF PROPERTY                                   DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                N                                                                                                         DEDUCTING ANY
                                                                                                                E                                                                                                       SECURED CLAIM OR
                                                                                                                                                                                                                            EXEMPTION




                                                                    34. Farm supplies, chemicals, and feed.     X
                                                                    35. Other personal property of any kind     X
                                                                        not already listed. Itemize.
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                                                                                                                                                                                         TOTAL                                   8,635.00
                                                                                                                                                                    (Include amounts from any continuation sheets attached.
                                                                            0 continuation sheets attached                                                                     Report total also on Summary of Schedules.)
                                                                   B6C (Official Case
                                                                                 Form 6C)15-41743
                                                                                          (04/13)               Doc 14          Filed 10/02/15 Entered 10/02/15 20:22:09                                Desc Main
                                                                                                                                 Document     Page 7 of 25
                                                                   IN RE Imparato, John P.                                                                                          Case No. 15-bk-41743
                                                                                                                             Debtor(s)                                                                          (If known)

                                                                                                               SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                   Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $155,675. *
                                                                   (Check one box)
                                                                         11 U.S.C. § 522(b)(2)
                                                                         11 U.S.C. § 522(b)(3)

                                                                                                                                                                                                                    CURRENT VALUE
                                                                                                                                                                                          VALUE OF CLAIMED           OF PROPERTY
                                                                                     DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                             EXEMPTION            WITHOUT DEDUCTING
                                                                                                                                                                                                                     EXEMPTIONS

                                                                   SCHEDULE A - REAL PROPERTY
                                                                   11 Chase St                                                  11 USC § 522(d)(1)                                                10,800.00              295,000.00
                                                                   Bellingham, MA 02019
                                                                   SCHEDULE B - PERSONAL PROPERTY
                                                                   Cash                                                         11 USC § 522(d)(5)                                                      10.00                     10.00
                                                                   Citizens Bank checking                                       11 USC § 522(d)(5)                                                      40.00                     40.00
                                                                   Middlesex Savings Bank checking                              11 USC § 522(d)(5)                                                    200.00                     200.00
                                                                   Middlesex Savings Bank checking                              11 USC § 522(d)(5)                                                    750.00                     750.00
                                                                   Middlesex Savings Bank savings                               11 USC § 522(d)(5)                                                      10.00                     10.00
                                                                   Ordinary and usual household contents                        11 USC § 522(d)(3)                                                  4,000.00                 4,000.00
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                                                                   Clothing                                                     11 USC § 522(d)(3)                                                    750.00                     750.00
                                                                   Misc. Jewelry                                                11 USC § 522(d)(4)                                                    250.00                     250.00
                                                                   misc. guns                                                   11 USC § 522(d)(5)                                                    500.00                     500.00
                                                                   1995 Dodge 1500 pickup                                       11 USC § 522(d)(2)                                                    500.00                     500.00
                                                                   2002 Dodge Stratus (son drives and pays                      11 USC § 522(d)(5)                                                    175.00                     175.00
                                                                   expenses)




                                                                   * Amount subject to adjustment on 4/1/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                   B6D (Official Case
                                                                                 Form 6D)15-41743
                                                                                          (12/07)                Doc 14                  Filed 10/02/15 Entered 10/02/15 20:22:09                                                                                Desc Main
                                                                                                                                          Document     Page 8 of 25
                                                                   IN RE Imparato, John P.                                                                                                                     Case No. 15-bk-41743
                                                                                                                               Debtor(s)                                                                                                                                     (If known)

                                                                                                           SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                      State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
                                                                   date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                   the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                                                                   security interests.
                                                                     List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's parent or
                                                                   guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors
                                                                   will not fit on this page, use the continuation sheet provided.
                                                                     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                   schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                   on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
                                                                      If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                   is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                      Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet
                                                                   of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and,
                                                                   if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
                                                                   Liabilities and Related Data.

                                                                       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                         HUSBAND, WIFE, JOINT,
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                                                                                                                                            OR COMMUNITY




                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                                                                    CONTINGENT
                                                                                                                              CODEBTOR




                                                                                                                                                                                                                                                              AMOUNT OF




                                                                                                                                                                                                                                                DISPUTED
                                                                            CREDITOR'S NAME AND MAILING ADDRESS                                                               DATE CLAIM WAS INCURRED,                                                      CLAIM WITHOUT
                                                                                                                                                                                                                                                                                      UNSECURED
                                                                          INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                     NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                             DEDUCTING
                                                                                                                                                                                                                                                                                    PORTION, IF ANY
                                                                                     (See Instructions Above.)                                                                PROPERTY SUBJECT TO LIEN                                                         VALUE OF
                                                                                                                                                                                                                                                             COLLATERAL




                                                                   ACCOUNT NO. 3836                                                                              2005 Chevy Uplander                                                                               4,467.00                 3,017.00
                                                                                                                                                                 2013-04-01
                                                                   Credit Acceptance
                                                                   PO Box 513
                                                                   Southfield, MI 48037-0513

                                                                                                                                                                 VALUE $ 1,450.00
                                                                                                                                                                 Mortgage 11 Chase St                                                                          308,749.00                 13,749.00
                                                                   ACCOUNT NO. 9199
                                                                                                                                                                 2007-03-01
                                                                   Nationstar Mortgage Ll
                                                                   350 Highland Dr
                                                                   Lewisville, TX 75067-4177

                                                                                                                                                                 VALUE $ 295,000.00

                                                                   ACCOUNT NO.




                                                                                                                                                                 VALUE $

                                                                   ACCOUNT NO.




                                                                                                                                                                 VALUE $
                                                                                                                                                                                                                      Subtotal
                                                                          0 continuation sheets attached                                                                                                  (Total of this page) $ 313,216.00 $                                             16,766.00
                                                                                                                                                                                                                         Total
                                                                                                                                                                                                       (Use only on last page) $ 313,216.00 $                                             16,766.00
                                                                                                                                                                                                                                                           (Report also on         (If applicable, report
                                                                                                                                                                                                                                                           Summary of              also on Statistical
                                                                                                                                                                                                                                                           Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                   Liabilities and Related
                                                                                                                                                                                                                                                                                   Data.)
                                                                   B6E (Official Case
                                                                                 Form 6E)15-41743
                                                                                          (04/13)                Doc 14           Filed 10/02/15 Entered 10/02/15 20:22:09                                          Desc Main
                                                                                                                                   Document     Page 9 of 25
                                                                   IN RE Imparato, John P.                                                                                                   Case No. 15-bk-41743
                                                                                                                               Debtor(s)                                                                                   (If known)

                                                                                              SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                      A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
                                                                   priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
                                                                   number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation
                                                                   sheet for each type of priority and label each with the type of priority.

                                                                      The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
                                                                   If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                   not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
                                                                   schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                   on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled
                                                                   "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You
                                                                   may need to place an "X" in more than one of these three columns.)

                                                                     Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
                                                                   on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                     Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority listed
                                                                   on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on the
                                                                   Statistical Summary of Certain Liabilities and Related Data.

                                                                      Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all amounts not entitled to priority
                                                                   listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on
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                                                                   the Statistical Summary of Certain Liabilities and Related Data.

                                                                       Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                   TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
                                                                        Domestic Support Obligations
                                                                        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
                                                                        responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
                                                                        U.S.C. § 507(a)(1).
                                                                        Extensions of credit in an involuntary case
                                                                        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                        appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).
                                                                        Wages, salaries, and commissions
                                                                        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                        independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                        cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
                                                                        Contributions to employee benefit plans
                                                                        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                        cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
                                                                        Certain farmers and fishermen
                                                                        Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
                                                                        Deposits by individuals
                                                                        Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
                                                                        were not delivered or provided. 11 U.S.C. § 507(a)(7).
                                                                        Taxes and Certain Other Debts Owed to Governmental Units
                                                                        Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
                                                                        Commitments to Maintain the Capital of an Insured Depository Institution
                                                                        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
                                                                        of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).
                                                                        Claims for Death or Personal Injury While Debtor Was Intoxicated
                                                                        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
                                                                        a drug, or another substance. 11 U.S.C. § 507(a)(10).

                                                                        * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                          0 continuation sheets attached
                                                                   B6F (Official Case
                                                                                 Form 6F)15-41743
                                                                                         (12/07)                 Doc 14           Filed 10/02/15 Entered 10/02/15 20:22:09                                                         Desc Main
                                                                                                                                   Document     Page 10 of 25
                                                                   IN RE Imparato, John P.                                                                                                                     Case No. 15-bk-41743
                                                                                                                               Debtor(s)                                                                                                             (If known)

                                                                                         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                      State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
                                                                   or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                   the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or
                                                                   guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims
                                                                   listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

                                                                     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                   schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                   on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

                                                                      If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                   is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                     Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                   Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                       Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                                                                                        CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                    DISPUTED
                                                                                 CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                             INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
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                                                                                        (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                   ACCOUNT NO. 5361
                                                                   CH Neurology Foundation, Inc.
                                                                   55 Pond Ave Ste 103
                                                                   Brookline, MA 02445-7170

                                                                                                                                                                                                                                                                                   20.00
                                                                   ACCOUNT NO. 8812                                                                                     Open account
                                                                   Chestnut Dental Associat                                                                             2013-06-01
                                                                   100 Cummings Ctr Ste 309
                                                                   Beverly, MA 01915-6115

                                                                                                                                                                                                                                                                                  476.00
                                                                   ACCOUNT NO. 3840                                                                                     Open account
                                                                   CMRE Financial Services                                                                              2015-04-01
                                                                   3075 E Imperial Hwy Ste
                                                                   Brea, CA 92821-6733

                                                                                                                                                                                                                                                                                  696.00
                                                                   ACCOUNT NO. 2438                                                                                     Open account
                                                                   CMRE Financial Services                                                                              2015-03-01
                                                                   3075 E Imperial Hwy Ste
                                                                   Brea, CA 92821-6733

                                                                                                                                                                                                                                                                                  367.00
                                                                                                                                                                                                                                        Subtotal
                                                                          2 continuation sheets attached                                                                                                                    (Total of this page) $                              1,559.00
                                                                                                                                                                                                                                           Total
                                                                                                                                                                              (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                  the Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                               Summary of Certain Liabilities and Related Data.) $
                                                                                 Case
                                                                   B6F (Official Form 6F)15-41743
                                                                                         (12/07) - Cont.       Doc 14          Filed 10/02/15 Entered 10/02/15 20:22:09                                                             Desc Main
                                                                                                                                Document     Page 11 of 25
                                                                   IN RE Imparato, John P.                                                                                                                      Case No. 15-bk-41743
                                                                                                                            Debtor(s)                                                                                                                 (If known)

                                                                                        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                (Continuation Sheet)




                                                                                                                                              HUSBAND, WIFE, JOINT,
                                                                                                                                                 OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                   CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                CREDITOR'S NAME, MAILING ADDRESS                                                                      DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                            INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                 CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                       (See Instructions Above.)                                                                        SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                   ACCOUNT NO. 1589                                                                                   Open account
                                                                   Comcast                                                                                            2015-05-01
                                                                   4120 International Pkwy
                                                                   Carrollton, TX 75007-1957

                                                                                                                                                                                                                                                                                   490.00
                                                                   ACCOUNT NO. 8897                                                                                   Revolving account
                                                                   Comenitycapital/gmstop                                                                             2014-11-01
                                                                   PO Box 182120
                                                                   Columbus, OH 43218-2120
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                                                                                                                                                                                                                                                                                   185.00
                                                                   ACCOUNT NO. 7079                                                                                   Open account
                                                                   Midland Credit Management                                                                          Unknown
                                                                   2365 Northside Dr
                                                                   San Diego, CA 92108-2709

                                                                                                                                                                                                                                                                                 1,363.00
                                                                   ACCOUNT NO. 9312                                                                                   9/2014
                                                                   Milford Regional Med Center, Inc.
                                                                   14 Prospect St
                                                                   Milford, MA 01757-3003

                                                                                                                                                                                                                                                                                   122.00
                                                                   ACCOUNT NO. 9831                                                                                   5/2015
                                                                   Milford Regional Medical Center
                                                                   PO Box 190
                                                                   Milford, MA 01757-0190

                                                                                                                                                                                                                                                                                   100.00
                                                                   ACCOUNT NO. 8389                                                                                   Open account
                                                                   Peter Roberts & Associates, Inc.                                                                   2014-12-01
                                                                   219 E Main St
                                                                   Milford, MA 01757-2823

                                                                                                                                                                                                                                                                                   162.00
                                                                   ACCOUNT NO. 8388                                                                                   Open account
                                                                   Peter Roberts & Associates, Inc.                                                                   2014-12-01
                                                                   219 E Main St
                                                                   Milford, MA 01757-2823

                                                                                                                                                                                                                                                                                    50.00
                                                                   Sheet no.       1 of        2 continuation sheets attached to                                                                                                         Subtotal
                                                                   Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                                (Total of this page) $                              2,472.00
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                                 Case
                                                                   B6F (Official Form 6F)15-41743
                                                                                         (12/07) - Cont.       Doc 14          Filed 10/02/15 Entered 10/02/15 20:22:09                                                             Desc Main
                                                                                                                                Document     Page 12 of 25
                                                                   IN RE Imparato, John P.                                                                                                                      Case No. 15-bk-41743
                                                                                                                            Debtor(s)                                                                                                                 (If known)

                                                                                        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                (Continuation Sheet)




                                                                                                                                              HUSBAND, WIFE, JOINT,
                                                                                                                                                 OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                   CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                CREDITOR'S NAME, MAILING ADDRESS                                                                      DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                            INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                 CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                       (See Instructions Above.)                                                                        SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                   ACCOUNT NO. 7941                                                                                   8/2014
                                                                   Southboro Medical Group/Reliant
                                                                   327 West St
                                                                   Milford, MA 01757-1257

                                                                                                                                                                                                                                                                                   148.00
                                                                   ACCOUNT NO. 1116                                                                                   Open account
                                                                   Staffier Associates Inc                                                                            2015-05-01
                                                                   73 Field St
                                                                   Waterbury, CT 06702-1906
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                                                                                                                                                                                                                                                                                   200.00
                                                                   ACCOUNT NO.




                                                                   ACCOUNT NO.




                                                                   ACCOUNT NO.




                                                                   ACCOUNT NO.




                                                                   ACCOUNT NO.




                                                                   Sheet no.       2 of        2 continuation sheets attached to                                                                                                         Subtotal
                                                                   Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                                (Total of this page) $                                348.00
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $                              4,379.00
                                                                   B6G (Official Case
                                                                                 Form 6G)15-41743
                                                                                          (12/07)                Doc 14           Filed 10/02/15 Entered 10/02/15 20:22:09                                         Desc Main
                                                                                                                                   Document     Page 13 of 25
                                                                   IN RE Imparato, John P.                                                                                                   Case No. 15-bk-41743
                                                                                                                               Debtor(s)                                                                                  (If known)

                                                                                                SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                      Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s interest in
                                                                   contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each
                                                                   lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent or guardian,
                                                                   such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       Check this box if debtor has no executory contracts or unexpired leases.

                                                                                                                                                                   DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                                                      NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                                                       STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                         OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                                                         STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                   B6H (Official Case
                                                                                 Form 6H)15-41743
                                                                                          (12/07)                 Doc 14           Filed 10/02/15 Entered 10/02/15 20:22:09                                         Desc Main
                                                                                                                                    Document     Page 14 of 25
                                                                   IN RE Imparato, John P.                                                                                                    Case No. 15-bk-41743
                                                                                                                                Debtor(s)                                                                                   (If known)

                                                                                                                                   SCHEDULE H - CODEBTORS
                                                                      Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor in the schedules
                                                                   of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
                                                                   California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement
                                                                   of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
                                                                   territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
                                                                   a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
                                                                   name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       Check this box if debtor has no codebtors.

                                                                                              NAME AND ADDRESS OF CODEBTOR                                                               NAME AND ADDRESS OF CREDITOR
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                                                                                     Case 15-41743                Doc 14          Filed 10/02/15 Entered 10/02/15 20:22:09                                    Desc Main
                                                                                                                                   Document     Page 15 of 25
                                                                    Fill in this information to identify your case:


                                                                    Debtor 1          John
                                                                                      ___ ____P. Imparato
                                                                                               _____ _______ ____ _____ ______ ____ ____________ ____ ______ ____ ____
                                                                                        F irst Name                Middle Name                Last Name

                                                                    Debtor 2            ___ ____ _____ _______ ____ _____ ______ _________ _______ ____ _____ _____ __
                                                                    (Spouse, if filing) F irst Name                Middle Name                Last Name


                                                                    United States Bankruptcy Court for the: District of Massachusetts

                                                                    Case num ber        15-bk-41743
                                                                                        ___ ____ _____ ______ _____ _____ ______ ____ _____                                      Check if this is:
                                                                        (If known)
                                                                                                                                                                                     An amended filing
                                                                                                                                                                                     A supplement showing post-petition
                                                                                                                                                                                     chapter 13 income as of the following date:
                                                                                                                                                                                     ________________
                                                                   Official Form 6I                                                                                                  MM / DD / YYYY


                                                                   Schedule I: Your Income                                                                                                                                           12/13
                                                                   Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
                                                                   supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
                                                                   If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
                                                                   separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                                                                    Part 1:           Describe Employment
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                                                                   1.    Fill in your employment
                                                                         information.                                                              Debtor 1                                          Debtor 2 or non-filing spouse

                                                                          If you have more than one job,
                                                                          attach a separate page with
                                                                          information about additional          Employment status                    Employed                                           Employed
                                                                          employers.                                                                 Not employed                                       Not employed
                                                                          Include part-time, seasonal, or
                                                                          self-employed work.
                                                                                                                Occupation                     __________________________________                Director
                                                                                                                                                                                                 __________________________________
                                                                          Occupation may Include student
                                                                          or homemaker, if it applies.
                                                                                                                Employer’s name                Unemployed
                                                                                                                                               __________________________________                Polyclinic LLC
                                                                                                                                                                                                 __________________________________


                                                                                                                Employer’s address            __ ____ _______ _____ ____ _____ ______ ____ __   ___ _______ ____ _____ __________ _____ ______
                                                                                                                                                Number Street                                     Number     Street

                                                                                                                                              __ ____ _____ ______ _____ _____ ______ ____ __   ___ _______ __ ______ _____ _______ ____ _____ _

                                                                                                                                              ____ _____ ____ _______ ____ _____ ______ ____    _____ _____ _____ ______ ____ _____ ______ ____


                                                                                                                                              __ ____ _____ ______ _____ _____ ______ ____ __   _____ _____ ______ _____ ____ _____ ______ ____
                                                                                                                                                Cit y              State   ZIP Code               City                    State ZIP Code

                                                                                                                How long employed there?             _______                                      5_______
                                                                                                                                                                                                    years


                                                                    Part 2:           Give Details About Monthly Income

                                                                          Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
                                                                          spouse unless you are separated.
                                                                          If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
                                                                          below. If you need more space, attach a separate sheet to this form.

                                                                                                                                                                           For Debtor 1           For Debtor 2 or
                                                                                                                                                                                                  non-filing spouse
                                                                    2.     List monthly gross wages, salary, and commissions (before all payroll
                                                                           deductions). If not paid monthly, calculate what the monthly wage would be.             2.
                                                                                                                                                                                0.00
                                                                                                                                                                          $___________                    4,816.00
                                                                                                                                                                                                     $____________

                                                                    3.     Estimate and list monthly overtime pay.                                                 3.    + $___________
                                                                                                                                                                                0.00             +          0.00
                                                                                                                                                                                                     $____________


                                                                    4.     Calculate gross income. Add line 2 + line 3.                                            4.          0.00
                                                                                                                                                                          $__________                     4,816.00
                                                                                                                                                                                                     $____________



                                                                   Official Form 6I                                                       Schedule I: Your Income                                                                page 1
                                                                                      Case 15-41743                         Doc 14                Filed 10/02/15 Entered 10/02/15 20:22:09                                           Desc Main
                                                                                                                                                   Document     Page 16 of 25
                                                                   Debtor 1             John
                                                                                       ___     P. Imparato
                                                                                           _______ ____ _____ ______ _____ ____ _______ ____ _____ _____                                         Case numb er          15-bk-41743
                                                                                                                                                                                                                (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                       First Name          Middle Name                Last Name



                                                                                                                                                                                                For Debtor 1            For Debtor 2 or
                                                                                                                                                                                                                        non-filing spouse

                                                                         Copy line 4 here ............................................................................................   4.             0.00
                                                                                                                                                                                                 $___________                    4,816.00
                                                                                                                                                                                                                            $_____________

                                                                   5.    List all payroll deductions:

                                                                          5a. Tax, Medicare, and Social Security deductions                                                              5a.            0.00
                                                                                                                                                                                                $____________                    812.00
                                                                                                                                                                                                                           $_____________
                                                                          5b. Mandatory contributions for retirement plans                                                               5b.            0.00
                                                                                                                                                                                                $____________                     0.00
                                                                                                                                                                                                                           $_____________
                                                                          5c. Voluntary contributions for retirement plans                                                               5c.            0.00
                                                                                                                                                                                                $____________                    371.00
                                                                                                                                                                                                                           $_____________
                                                                          5d. Required repayments of retirement fund loans                                                               5d.            0.00
                                                                                                                                                                                                $____________                     0.00
                                                                                                                                                                                                                           $_____________
                                                                          5e. Insurance                                                                                                  5e.            0.00
                                                                                                                                                                                                $____________                    129.00
                                                                                                                                                                                                                           $_____________
                                                                          5f. Domestic support obligations                                                                               5f.            0.00
                                                                                                                                                                                                $____________                     0.00
                                                                                                                                                                                                                           $_____________

                                                                          5g. Union dues                                                                                                 5g.            0.00
                                                                                                                                                                                                $____________                     0.00
                                                                                                                                                                                                                           $_____________

                                                                          5h. Other deductions. Specify: __________________________________                                              5h.   + $____________
                                                                                                                                                                                                         0.00          +          0.00
                                                                                                                                                                                                                           $_____________

                                                                    6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                     6.             0.00
                                                                                                                                                                                                $____________                   1,312.00
                                                                                                                                                                                                                           $_____________

                                                                    7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.            0.00
                                                                                                                                                                                                $____________                   3,504.00
                                                                                                                                                                                                                           $_____________
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                                                                    8.   List all other income regularly received:
                                                                          8a. Net income from rental property and from operating a business,
                                                                              profession, or farm
                                                                              Attach a statement for each property and business showing gross
                                                                              receipts, ordinary and necessary business expenses, and the total
                                                                                                                                                                                                        0.00
                                                                                                                                                                                                $____________                     0.00
                                                                                                                                                                                                                           $_____________
                                                                              monthly net income.                                                                                        8a.
                                                                           8b. Interest and dividends                                                                                    8b.            0.00
                                                                                                                                                                                                $____________              $_____________
                                                                                                                                                                                                                                  0.00
                                                                          8c. Family support payments that you, a non-filing spouse, or a dependent
                                                                              regularly receive
                                                                              Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                                                                                                        0.00
                                                                                                                                                                                                $____________                     0.00
                                                                                                                                                                                                                           $_____________
                                                                              settlement, and property settlement.                                  8c.
                                                                          8d. Unemployment compensation                                                                                  8d.         3,432.00
                                                                                                                                                                                                $____________                     0.00
                                                                                                                                                                                                                           $_____________
                                                                          8e. Social Security                                                                                            8e.            0.00
                                                                                                                                                                                                $____________                     0.00
                                                                                                                                                                                                                           $_____________
                                                                           8f. Other government assistance that you regularly receive
                                                                               Include cash assistance and the value (if known) of any non-cash assistance
                                                                               that you receive, such as food stamps (benefits under the Supplemental                                                   0.00
                                                                                                                                                                                                $____________                     0.00
                                                                                                                                                                                                                           $_____________
                                                                               Nutrition Assistance Program) or housing subsidies.
                                                                               Specify: ___________________________________________________ 8f.

                                                                           8g. Pension or retirement income                                                                              8g.            0.00
                                                                                                                                                                                                $____________                     0.00
                                                                                                                                                                                                                           $_____________

                                                                           8h. Other monthly income. Specify: Tax
                                                                                                              _______________________________
                                                                                                                  return Income                                                          8h.   + $____________
                                                                                                                                                                                                       200.00            + $_____________
                                                                                                                                                                                                                                  0.00
                                                                    9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.          3,632.00
                                                                                                                                                                                                $____________                     0.00
                                                                                                                                                                                                                           $_____________

                                                                   10. Calculate  monthly income. Add line 7 + line 9.
                                                                         Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                      10.
                                                                                                                                                                                                    3,632.00
                                                                                                                                                                                                $___________       +             3,504.00 = $_____________
                                                                                                                                                                                                                            $_____________       7,136.00

                                                                   11.   State all other regular contributions to the expenses that you list in Schedule J.
                                                                         Include contributions from an unmarried partner, members of your household, your dependents , your roommates, and
                                                                         other friends or relatives.
                                                                         Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
                                                                         Specify: _______________________________________________________________________________                                                                            11. + $_____________
                                                                                                                                                                                                                                                           0.00
                                                                   12.   Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                         Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                        12.        7,136.00
                                                                                                                                                                                                                                                     $_____________
                                                                                                                                                                                                                                                     Combined
                                                                                                                                                                                                                                                     monthly income
                                                                    13. Do     you expect an increase or decrease within the year after you file this form?
                                                                               No.
                                                                                              Debtor hopes to find employment in the next year as he was just recently laid off.
                                                                               Yes. Explain:


                                                                     Official Form 6I                                                                      Schedule I: Your Income                                                                       page 2
                                                                                        Case 15-41743                Doc 14           Filed 10/02/15 Entered 10/02/15 20:22:09                                 Desc Main
                                                                                                                                       Document     Page 17 of 25
                                                                        Fill in this information to identify your case:

                                                                        Debtor 1           John
                                                                                          ___      P. ____
                                                                                              _______ Imparato
                                                                                                           _____ ____ _____ ______ ____ _______ _____ ____ _______ ____ _
                                                                                           First Name                  Middle Name               Last Name                        Check if this is:
                                                                        Debtor 2           ___ ____ _____ _______ ____ _____ ______ _______ ____ _____ ____ _______ ___
                                                                        (Spouse, if filing) First Name                 Middle Name               Last Name
                                                                                                                                                                                      An amended filing
                                                                                                                                                                                      A supplement showing post-petition chapter 13
                                                                        United Sta tes Bankruptcy Court for th e: District of Massachusetts                                           expenses as of the following date:
                                                                                                                                                                                      ________________
                                                                        Case num ber        15-bk-41743
                                                                                           ___ ____ _____ ______ _____ _____ ______ _______ __                                        MM / DD / YYYY
                                                                         (If known)
                                                                                                                                                                                      A separate filing for Debtor 2 because Debtor 2
                                                                                                                                                                                      maintains a separate household
                                                                   Official Form 6J
                                                                   Schedule J: Your Expenses                                                                                                                                      12/13

                                                                   Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                   information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
                                                                   (if known). Answer every question.

                                                                    Part 1:               Describe Your Household

                                                                   1.    Is this a joint case?

                                                                              No. Go to line 2.
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                                                                              Yes. Does Debtor 2 live in a separate household?

                                                                                           No
                                                                                           Yes. Debtor 2 must file a separate Schedule J.

                                                                   2.    Do you have dependents?                         No                                   Dependent’s relations hip to              De pendent’s   Does d epe ndent live
                                                                         Do not list Debtor 1 and                        Yes. Fill out this information for Debtor 1 or Debtor 2                        age            with you?
                                                                         Debtor 2.                                       each dependent..........................
                                                                                                                                                                                                                           No
                                                                         Do not state the dependents’                                                         son
                                                                                                                                                              _________________________                 21
                                                                                                                                                                                                        ________
                                                                         names.                                                                                                                                            Yes

                                                                                                                                                              daughter
                                                                                                                                                              _________________________                 19
                                                                                                                                                                                                        ________           No
                                                                                                                                                                                                                           Yes

                                                                                                                                                              daughter
                                                                                                                                                              _________________________                 14
                                                                                                                                                                                                        ________           No
                                                                                                                                                                                                                           Yes

                                                                                                                                                              son
                                                                                                                                                              _________________________                 11
                                                                                                                                                                                                        ________           No
                                                                                                                                                                                                                           Yes

                                                                                                                                                              _________________________                 ________           No
                                                                                                                                                                                                                           Yes

                                                                   3.    Do your expenses include
                                                                                                                         No
                                                                         expenses of people other than
                                                                         yourself and your dependents?                   Yes

                                                                   Part 2:            Estimate Your Ongoing Monthly Expenses

                                                                   Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
                                                                   expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
                                                                   applicable date.
                                                                   Include expenses paid for with non-cash government assistance if you know the value of
                                                                   such assistance and have included it on Schedule I: Your Income (Official Form 6I.)                                                     Your expenses

                                                                    4.     The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                           any rent for the ground or lot.                                                                                        4.
                                                                                                                                                                                                                1,954.00
                                                                                                                                                                                                          $_____________________

                                                                           If not included in line 4:
                                                                           4a.    Real estate taxes                                                                                               4a.             0.00
                                                                                                                                                                                                          $_____________________
                                                                           4b.    Property, homeowner’s, or renter’s insurance                                                                    4b.             0.00
                                                                                                                                                                                                          $_____________________
                                                                           4c.    Home maintenance, repair, and upkeep expenses                                                                   4c.            150.00
                                                                                                                                                                                                          $_____________________

                                                                           4d.    Homeowner’s association or condominium dues                                                                     4d.             0.00
                                                                                                                                                                                                          $_____________________

                                                                        Official Form 6J                                                 Schedule J: Your Expenses                                                           page 1
                                                                                       Case 15-41743                 Doc 14            Filed 10/02/15 Entered 10/02/15 20:22:09                         Desc Main
                                                                                                                                        Document     Page 18 of 25
                                                                    Debtor 1            John
                                                                                        ___    P. Imparato
                                                                                            _______ ____ _____ ______ _____ ____ _______ ____ _____ _____           Case numb er          15-bk-41743
                                                                                                                                                                                   (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                        First Name     Middle Name         Last Name




                                                                                                                                                                                                    Your expenses

                                                                                                                                                                                                   $_____________________
                                                                                                                                                                                                           0.00
                                                                    5.    Additional mortgage payments for your residence, such as home equity loans                                       5.


                                                                    6.    Utilities:
                                                                           6a.     Electricity, heat, natural gas                                                                          6a.            395.00
                                                                                                                                                                                                   $_____________________
                                                                           6b.     Water, sewer, garbage collection                                                                        6b.            106.00
                                                                                                                                                                                                   $_____________________
                                                                           6c.     Telephone, cell phone, Internet, satellite, and cable services                                          6c.            400.00
                                                                                                                                                                                                   $_____________________

                                                                           6d.     Other. Specify: _______________________________________________                                         6d.             0.00
                                                                                                                                                                                                   $_____________________

                                                                    7.    Food and housekeeping supplies                                                                                   7.            1,150.00
                                                                                                                                                                                                   $_____________________

                                                                    8.    Childcare and children’s education costs                                                                         8.              0.00
                                                                                                                                                                                                   $_____________________
                                                                    9.    Clothing, laundry, and dry cleaning                                                                              9.             200.00
                                                                                                                                                                                                   $_____________________
                                                                   10.    Personal care products and services                                                                              10.            140.00
                                                                                                                                                                                                   $_____________________
                                                                   11.    Medical and dental expenses                                                                                      11.            200.00
                                                                                                                                                                                                   $_____________________
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                                                                   12.    Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                                                                                          650.00
                                                                                                                                                                                                   $_____________________
                                                                          Do not include car payments.                                                                                     12.

                                                                   13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                              13.            150.00
                                                                                                                                                                                                   $_____________________
                                                                   14.     Charitable contributions and religious donations                                                                14.             0.00
                                                                                                                                                                                                   $_____________________

                                                                   15.     Insurance.
                                                                           Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                           15a .   Life insurance                                                                                          15a .           0.00
                                                                                                                                                                                                   $_____________________
                                                                           15b .   Health insurance                                                                                        15b .           0.00
                                                                                                                                                                                                   $_____________________
                                                                           15c.    Vehicle insurance                                                                                       15c.           157.00
                                                                                                                                                                                                   $_____________________
                                                                           15d .   Other insurance. Specify:_______________________________________                                        15d .           0.00
                                                                                                                                                                                                   $_____________________

                                                                   16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                                                                                                          617.00
                                                                                                                                                                                                   $_____________________
                                                                                     Unemployment taxes
                                                                           Specify: ______________________________________
                                                                                                                         __________________                                                16.


                                                                   17.    Installment or lease payments:

                                                                           17a .   Car payments for Vehicle 1                                                                              17a.           340.00
                                                                                                                                                                                                   $_____________________

                                                                           17b .   Car payments for Vehicle 2                                                                              17b .           0.00
                                                                                                                                                                                                   $_____________________

                                                                           17 c.   Other. Specify:_________________________________
                                                                                                                                  ______________                                           17c.            0.00
                                                                                                                                                                                                   $_____________________

                                                                           17 d.   Other. Specify:_________________________________
                                                                                                                                  ______________                                           17d .           0.00
                                                                                                                                                                                                   $_____________________

                                                                   18.    Your payments of alimony, maintenance, and support that you did not report as deducted from                                      0.00
                                                                                                                                                                                                   $_____________________
                                                                          your pay on line 5, Schedule I, Your Income (Official Form 6I).                                                   18.


                                                                   19.    Other payments you make to support others who do not live with you.                                                              0.00
                                                                                                                                                                                                   $_____________________
                                                                          Specify:_______________________________________________________                                                   19.

                                                                   20.    Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

                                                                           20a .   Mortgages on other property                                                                            20 a.            0.00
                                                                                                                                                                                                   $_____________________

                                                                           20b .   Real estate taxes                                                                                      20b .            0.00
                                                                                                                                                                                                   $_____________________

                                                                           20c.    Property, homeowner’s, or renter’s insurance                                                           20c.             0.00
                                                                                                                                                                                                   $_____________________

                                                                           20d .   Maintenance, repair, and upkeep expenses                                                               20d .            0.00
                                                                                                                                                                                                   $_____________________

                                                                           20e .   Homeowner’s association or condominium dues                                                            20e .            0.00
                                                                                                                                                                                                   $_____________________



                                                                         Official Form 6J                                               Schedule J: Your Expenses                                                           page 2
                                                                   0.00
                                                                                     Case 15-41743                 Doc 14            Filed 10/02/15 Entered 10/02/15 20:22:09                          Desc Main
                                                                                                                                      Document     Page 19 of 25
                                                                     Debtor 1          John
                                                                                      ___     P. Imparato
                                                                                          _______ ____ _____ ______ _____ ____ _______ ____ _____ _____            Case numb er          15-bk-41743
                                                                                                                                                                                  (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                      First Name     Middle Name         Last Name




                                                                    21.     Other. Specify: ________________________________
                                                                                            WIFE UNSECURED DEBT             _________________                                            21 .          200.00
                                                                                                                                                                                                +$_____________________

                                                                    22.    Your monthly expenses. Add lines 4 through 21.
                                                                                                                                                                                                       6,809.00
                                                                                                                                                                                                  $_____________________
                                                                           The result is your monthly expenses.                                                                          22 .




                                                                    23.   Calculate your monthly net income.
                                                                                                                                                                                                        7,136.00
                                                                                                                                                                                                   $_____________________
                                                                          23a.   Copy line 12 (your combined monthly income) from Schedule I.                                           23a.

                                                                          23b.   Copy your monthly expenses from line 22 above.                                                         23b .   – $_____________________
                                                                                                                                                                                                        6,809.00

                                                                          23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                                                                                          327.00
                                                                                                                                                                                                   $_____________________
                                                                                 The result is your monthly net income.                                                                 23c.




                                                                    24.    Do you expect an increase or decrease in your expenses within the year after you file this form?
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                                                                           For example, do you expect to finish paying for your car loan within the year or do you expect your
                                                                           mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

                                                                              No.
                                                                              Yes.    None




                                                                          Official Form 6J                                            Schedule J: Your Expenses                                                            page 3
                                                                                Case
                                                                   B6 Declaration (Official15-41743         Doc(12/07)
                                                                                            Form 6 - Declaration) 14            Filed 10/02/15 Entered 10/02/15 20:22:09                                         Desc Main
                                                                                                                                 Document     Page 20 of 25
                                                                   IN RE Imparato, John P.                                                                                             Case No. 15-bk-41743
                                                                                                                             Debtor(s)                                                                                    (If known)

                                                                                                           DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                                                                    DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                   I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                      19 sheets, and that they are
                                                                   true and correct to the best of my knowledge, information, and belief.


                                                                   Date: October 2, 2015                                Signature: /s/ John P. Imparato
                                                                                                                                                                                                                                                     Debtor
                                                                                                                                     John P. Imparato

                                                                   Date:                                                Signature:
                                                                                                                                                                                                                                       (Joint Debtor, if any)
                                                                                                                                                                                             [If joint case, both spouses must sign.]

                                                                                 DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                   I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                   compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                   and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
                                                                   bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
                                                                   any fee from the debtor, as required by that section.
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                                                                   Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                           Social Security No. (Required by 11 U.S.C. § 110.)
                                                                   If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
                                                                   responsible person, or partner who signs the document.



                                                                   Address




                                                                   Signature of Bankruptcy Petition Preparer                                                                          Date

                                                                   Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
                                                                   is not an individual:


                                                                   If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                   A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                   imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


                                                                                   DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

                                                                   I, the                                                                     (the president or other officer or an authorized agent of the corporation or a
                                                                   member or an authorized agent of the partnership) of the
                                                                   (corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
                                                                   schedules, consisting of          sheets (total shown on summary page plus 1), and that they are true and correct to the best of my
                                                                   knowledge, information, and belief.



                                                                   Date:                                                Signature:


                                                                                                                                                                                               (Print or type name of individual signing on behalf of debtor)

                                                                                 [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                            Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                                 Case
                                                                   B7 (Official Form      15-41743
                                                                                     7) (04/13)              Doc 14         Filed 10/02/15 Entered 10/02/15 20:22:09                                Desc Main
                                                                                                                             Document     Page 21 of 25
                                                                                                                            United States Bankruptcy Court
                                                                                                                               District of Massachusetts

                                                                   IN RE:                                                                                                       Case No. 15-bk-41743
                                                                   Imparato, John P.                                                                                            Chapter 13
                                                                                                                    Debtor(s)

                                                                                                                     STATEMENT OF FINANCIAL AFFAIRS
                                                                      This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
                                                                   is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
                                                                   is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
                                                                   farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
                                                                   personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent or
                                                                   guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                     Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19 -
                                                                   25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question,
                                                                   use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                                                                                           DEFINITIONS

                                                                     "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business"
                                                                   for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the following:
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                                                                   an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
                                                                   partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
                                                                   form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                     "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
                                                                   which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and their relatives;
                                                                   affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101(2),(31).

                                                                   1. Income from employment or operation of business
                                                                    None   State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
                                                                           including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
                                                                           case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
                                                                           maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
                                                                           beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                           under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                           joint petition is not filed.)
                                                                               AMOUNT SOURCE
                                                                               67,683.00 YTD
                                                                               79,346.00 2014
                                                                             103,653.00 2013

                                                                   2. Income other than from employment or operation of business
                                                                    None   State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor’s business during the
                                                                           two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
                                                                           separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                           the spouses are separated and a joint petition is not filed.)

                                                                   3. Payments to creditors
                                                                   Complete a. or b., as appropriate, and c.
                                                                    None   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
                                                                           debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
                                                                           constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
                                                                           a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
                                                                           counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
                                                                           petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                 Case 15-41743               Doc 14         Filed 10/02/15 Entered 10/02/15 20:22:09                                Desc Main
                                                                                                                             Document     Page 22 of 25
                                                                    None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
                                                                           preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
                                                                           $6,255.* If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
                                                                           obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married
                                                                           debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint petition
                                                                           is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                           * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                    None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
                                                                           who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
                                                                           a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                   4. Suits and administrative proceedings, executions, garnishments and attachments
                                                                    None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
                                                                           bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
                                                                           not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                    None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
                                                                           the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
                                                                           or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                   5. Repossessions, foreclosures and returns
                                                                    None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
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                                                                           the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                           include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                           joint petition is not filed.)

                                                                   6. Assignments and receiverships
                                                                    None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
                                                                           (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
                                                                           unless the spouses are separated and joint petition is not filed.)

                                                                    None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
                                                                           commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
                                                                           spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                   7. Gifts
                                                                    None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
                                                                           gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
                                                                           per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
                                                                           a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                   8. Losses
                                                                    None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
                                                                           commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
                                                                           a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                   9. Payments related to debt counseling or bankruptcy
                                                                    None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
                                                                           consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
                                                                           of this case.
                                                                                                                                    DATE OF PAYMENT, NAME OF                      AMOUNT OF MONEY OR DESCRIPTION
                                                                   NAME AND ADDRESS OF PAYEE                                        PAYOR IF OTHER THAN DEBTOR                            AND VALUE OF PROPERTY
                                                                   Benner & Weinkauf                                                                                                                     $500.00
                                                                   50 Braintree Hill Park Ste 302
                                                                   Braintree, MA 02184-8831
                                                                                 Case 15-41743               Doc 14          Filed 10/02/15 Entered 10/02/15 20:22:09                                Desc Main
                                                                                                                              Document     Page 23 of 25
                                                                   10. Other transfers
                                                                    None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
                                                                           absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                           chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                           petition is not filed.)

                                                                    None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar
                                                                           device of which the debtor is a beneficiary.

                                                                   11. Closed financial accounts
                                                                    None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
                                                                           transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
                                                                           certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
                                                                           brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                           accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                           petition is not filed.)

                                                                   12. Safe deposit boxes
                                                                    None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
                                                                           preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
                                                                           both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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                                                                   13. Setoffs
                                                                    None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
                                                                           case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
                                                                           petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                   14. Property held for another person
                                                                    None   List all property owned by another person that the debtor holds or controls.


                                                                   15. Prior address of debtor
                                                                    None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during
                                                                           that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

                                                                   16. Spouses and Former Spouses
                                                                    None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
                                                                           Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
                                                                           identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.

                                                                   17. Environmental Information
                                                                   For the purpose of this question, the following definitions apply:
                                                                   “Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
                                                                   wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
                                                                   the cleanup of these substances, wastes or material.
                                                                   “Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
                                                                   debtor, including, but not limited to, disposal sites.
                                                                   “Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
                                                                   or similar term under an Environmental Law.

                                                                    None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
                                                                           potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
                                                                           Environmental Law.

                                                                    None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
                                                                           the governmental unit to which the notice was sent and the date of the notice.
                                                                                 Case 15-41743               Doc 14         Filed 10/02/15 Entered 10/02/15 20:22:09                                Desc Main
                                                                                                                             Document     Page 24 of 25
                                                                    None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
                                                                           is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

                                                                   18. Nature, location and name of business
                                                                    None   a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates
                                                                           of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole
                                                                           proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
                                                                           commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
                                                                           preceding the commencement of this case.
                                                                           If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                           of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately
                                                                           preceding the commencement of this case.
                                                                        If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                        of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately
                                                                        preceding the commencement of this case.
                                                                                                               LAST FOUR DIGITS
                                                                                                               OF SOCIAL-
                                                                                                               SECURITY OR OTHER
                                                                                                               INDIVIDUAL
                                                                                                               TAXPAYER-I.D. NO.                                                   NATURE OF            BEGINNING AND
                                                                   NAME                                        (ITIN)/COMPLETE EIN ADDRESS                                         BUSINESS             ENDING DATES
                                                                   dba John imparato electric                  social                                                              electrician          2012-3/2015
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                                                                    None   b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.


                                                                   The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been, within
                                                                   six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of more than
                                                                   5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed
                                                                   in a trade, profession, or other activity, either full- or part-time.

                                                                   (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within the six
                                                                   years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go directly to the
                                                                   signature page.)

                                                                   19. Books, records and financial statements
                                                                    None   a. List all bookkeepers and accountants who within the two years immediately preceding the filing of this bankruptcy case kept or supervised the
                                                                           keeping of books of account and records of the debtor.

                                                                    None   b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books of account
                                                                           and records, or prepared a financial statement of the debtor.

                                                                    None   c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
                                                                           debtor. If any of the books of account and records are not available, explain.

                                                                    None   d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
                                                                           the debtor within the two years immediately preceding the commencement of this case.

                                                                   20. Inventories
                                                                    None   a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
                                                                           dollar amount and basis of each inventory.

                                                                    None   b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.
                                                                                 Case 15-41743               Doc 14          Filed 10/02/15 Entered 10/02/15 20:22:09                                Desc Main
                                                                                                                              Document     Page 25 of 25
                                                                   21. Current Partners, Officers, Directors and Shareholders
                                                                    None   a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


                                                                    None   b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls,
                                                                           or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                   22. Former partners, officers, directors and shareholders
                                                                    None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement
                                                                           of this case.

                                                                    None   b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
                                                                           preceding the commencement of this case.

                                                                   23. Withdrawals from a partnership or distributions by a corporation
                                                                    None   If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
                                                                           bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this
                                                                           case.

                                                                   24. Tax Consolidation Group
                                                                    None   If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated group for tax
                                                                           purposes of which the debtor has been a member at any time within six years immediately preceding the commencement of the case.
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                                                                   25. Pension Funds.
                                                                    None   If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an employer,
                                                                           has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

                                                                   [If completed by an individual or individual and spouse]

                                                                   I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                   thereto and that they are true and correct.



                                                                   Date: October 2, 2015                             Signature /s/ John P. Imparato
                                                                                                                     of Debtor                                                                                John P. Imparato

                                                                   Date:                                             Signature
                                                                                                                     of Joint Debtor
                                                                                                                     (if any)

                                                                                                                                       0 continuation pages attached


                                                                    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. § 152 and 3571.
